172 F.3d 860
    Henry Levy, John Does 1-100v.Gregg Wasser, Samuel Rothstein &amp; Co., P.C., Lawrence Traub,G&amp;S Winding Road, L.P., 229 Route 110 Associates, 229 Route110 Realty Corporation, G&amp;S Routello Realty Company, WindingRoad, Inc., G&amp;S Investors Corp., Elite Prop Inc., a/k/a'Elite', Donald Gold
    NO. 97-5804
    United States Court of Appeals,Third Circuit.
    November 19, 1998
    
      1
      Appeal From:  D.N.J.
    
    
      2
      Affirmed.
    
    